         Case 4:20-cv-01273-BRW Document 7 Filed 11/06/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

FRED L. WILLIAMS                                                           PETITIONER
ADC #093355

v.                                4:20-cv-01273-BRW-JJV

DEXTER PAYNE, Director,
Arkansas Division of Correction                                          RESPONDENT

                                         JUDGMENT

       Consistent with the Order that was entered today, it is CONSIDERED, ORDERED, and

ADJUDGED that this case is DISMISSED.

       IT IS SO ORDERED this 6th day of November, 2020.


                                                    Billy Roy Wilson______________
                                                    UNITED STATES DISTRICT JUDGE
